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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION                           ISEN8          APIII:Q$
                                                                         (   C(   S

                                                                                      :J.   ...
 COMMUNITY FINANCIAL SERVICES                  §                                                  tXA$
 ASSOCIATION OF AMERICA, LTD.                  §                             Y_
 AND CONSUMER SERVICE                          §
 ALLIANCE OF TEXAS,                            §
                 PLAINTIFFS,                   §
                                               §
 V.                                            §         CAUSE NO. A-i 8-CV-0295-LY
                                               §
 CONSUMER FINANCIAL                            §
 PROTECTION BUREAU AND JOHN                    §
 MICHAEL MULVANEY,                             §
                DEFENDANTS.                    §
                                               §



                        ORDER SETTING STATUS CONFERENCE

       IT IS ORDERED that the above styled and numbered cause is set for a STATUS

CONFERENCE at 9:30 a.m., Thursday, October 4, 2018, in Courtroom 7, Seventh Floor of the

United States Courthouse, 501 West 5th Street, Austin, Texas.

       At least one attorney representing Plaintiffs Community Financial Services Association of

America, Ltd. and Consumer Service Alliance of Texas and one attorney representing Defendants

Consumer Financial Protection Bureau and John Michael Mulvaney shall appear and be present at

the conference in person.

       SIGNED this             day of September, 2018.




                                            UNITED STAT
